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MOTION UNDER 28 USC § 2255 TO VACATE, SET ASIDE; OR CORRECT

Rev. ‘
AO 249 (Rev. 5/85) SENTENCE BY A PERSON IN FEDERAL CUSTODY

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United States District Court ‘Northern District of Florida

Name of Movant Prisoner No. Case No.
Demetrus D. Howard 05674-017 3:03cr68/LAC
Place of Confinement 34/060 S/ juncjm Dp

USP Coleman, Coleman, Florida

UNITED STATES OF AMERICA . Vv. Demetrius D. Howard,
(name under which convicted)

MOTION

1. Name and location of court which entered the judgment of conviction under attack United States Dsitrict

Court, Northern District of Florida, Pensacola

November 25, 2003

2. Date of judgment of conviction

324 months

3. Length of sentence

4. Nature of offense involved (all counts) ___ Robbery, in violation of Title 18 U.S.C. § 1951(a)

count One (1), and Using, carrying, brandishing a firearm in relation ‘to robbery,

in violation of Title 18 U.S.C. § 924(c)(1)(A){ii) and 2, count three (3).

5. What was your plea? (Check one)
(a) Not guilty Oo
(b) Guilty. -. . XAKX
(c) Nolo contendere . 0 -

If you entered a guilty plea to one count or indictment, and a not guilty plea to another count or indictment, give details:
N/A

6. Ifyou pleaded not guilty, what kind of trial did you have? (Check one)

(a) Jury O N/A
(b) Judge. only oO

7. Did you testify at the trial?

Yes O No ZKXX N/A pee res
Uo daly GU Ty ih
8. Did you appeal from the judgment of conviction?
Yes KXNo O

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9. If you did appeal, answer the following:

Eleventh Circuit Court of Appeals
(a) Name of court

Affirmed

(b) Result

October 6, 2004

(c) Date of result

10. Other than a direct appeal from the judgment of conviction and sentence, have you previously filed any petitions,
applications or motions with respect to this judgment in any federal court?
Yes EXNo O

11. If your answer to 10 was “yes,” give the following information:

(a) (1) Name of court U.S. Supreme Court

writ of certiorari

(2) Nature of proceeding

(3) Grounds raised Should the court vacate the decision below, which affrimed a

sentence imposed and enhanced under the federal sentencing guidelines, because

the sentencing was unconstitutional under Blakely v. Washington, 124 S.Ct.

2531 (2004) and Apprendi v. New Jersey, 530 U.S. 466 (2000), and other

claims.

(4) Did you receive an evidentiary hearing on your petition, application or motion?
Yes 0 No Glixxx ,

© Result A

(6) Date of result January 24, 2005

(b) As to any second petition, application or motion give the same information:

(1) Name of court N/A
N/A
(2) Nature of proceeding
N/A

(3) Grounds raised

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(4) Did you receive an evidentiary hearing on your petition, application or motion?
Yes 0 No &XX

N/A
(5) Result.

N/A
(6) Date of result

(c) Did you appeal, to an appellate federal court having jurisdiction, the result of action taken on any petition,
application or motion?

()) First petition, etc. Yes O No%X
(2) Second petition, etc. Yes 0 No
(d)_If you did not appeal from the adverse action on any petition, application or motion, explain briefly why you did not:

N/A

12. State concisely every ground on which you claim that you are being held in violation of the constitution, laws or
treaties of the United States. Summarize briefly the facts supporting each ground. If necessary, you may attach
pages stating additional grounds and facts supporting same.

CAUTION: If you fail to set forth all ground in this motion, you may be barred from presenting additional
grounds at a Jater date.

For your information, the following is a list of the most frequently raised grounds for relief in these proceedings. Each
statement preceded by a letter constitutes a separate ground for possible relief. You may raise any grounds which you have
other than those listed. However, you should raise in this motion all available grounds (relating to this conviction) on which
you based your allegations that you are being held in custody unlawfully.

Do not check any of these listed grounds. If you select one or more of these grounds for relief, you must allege facts. The
motion will be returned to you if you merely check (a) through (j) or any one of the grounds.

(a) Conviction obtained by plea of guilty which was unlawfully induced or not made voluntarily or with understanding of
the nature of the charge and the consequences of the plea.
(b) Conviction obtained by use of coerced confession.

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(c)
(d)
(e)
(f)

(g)
(h)
(i)
Qj)

Conviction obtained by use of evidence gained pursuant to an unconstitutional search and seizure.
Conviction obtained by use of evidence obtained pursuant to an unlawful arrest.
Conviction obtained by a violation of the privilege against self-incrimination.

Conviction obtained by the unconstitutional failure of the prosecution to disclose to the defendant evidence favorable

to the defendant.

Conviction obtained by a violation of the protection against double jeopardy.

Conviction obtained by action of a grand or petit jury which was unconstitutionally selected and impanelled.
Denial of effective assistance of counsel.

Denial of right of appeal.

A. Ground one: ___Lneffective assistance of counsel/federal court's lack of

criminal, territorial, subject matter, and personal jurisdiction to prosecute

petitioner.

Supporting FACTS (state briefly without citing cases or law) The petitioner contends that the

the federal court lacked criminal, territorial, subject matter, and personal.

jurisdiction to prosecute him, where the bank involved in the case was not

federally insured for prosecution. The government also failed to prove

that the case involved a substantial affect on interestate commerce for

prosecution in federal court.

B. Ground two: neffective assistance of counsel/District court's erroroneous

jurisdiction on the element of a substantial affect on interstate commerce.

Supporting FACTS (state briefly without citing cases or law):

The petitioner contends that the

the law was established at the time of his trial, that there must be a

a substantial affect on interstate commerce for federal prosecution of ~

an offense pursuant to Title 18 U.S.C. § 1951, and the district court

failed to instruct the jury correctly on the element of a substantial

affect on interstate commerce as established in U.S. v. Lopez, 514 U.S.

549 (1996).

C. Ground three: Ineffective assistance of counsel/District court's lack of

of subject matter jurisdiction to use prior convictions for enhancement,

and court's erroneous use of unconstitutional prior convictions for entrances

' Supporting FACTS (state briefly without citing cases or law):

The district court erroneously enhanced the petitioner's sentence by way

of prior convictions without providing him notice before the entry of his

guiity plea as required by the Fifth Amendment and Title 21 U.S.C. §

851(a).

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The district court also used unconstitutional prior convictions of the

petitioner's for enhancement purposes, and deprived him of contesting the

prior convictions as required by the law and § 851(b) and (C).
D. Ground four:.
Ineffective assistance of counsel/Actually innocent of Violationg Title 18

U.S.C. § 924(c). ue
Supporting FACTS (state briefly without citing cases or law): _The petitioner contends that

he is actually innocent of violating Title 18 U.S.C. § 924(c), as he has not

used, carried, nor brandished a firearm in the commission of the robbery

involved in the case, and the government has failed to prove the required

elements of the offense. The petitioner has not aided and abetted in

using, carrying, and brandishing the firearm as well. The government

failed to prove these required elements as well.

13.. If any of the grounds listed in 12A, B, C, and D were not previously presented, state briefly what grounds were not so
presented, and give your reasons for not presenting them:

The present claims being raised has never been presented to this court nor the court

of appeal, as counsel did not preserve the issues in the district court, nor did

counsel raise the issues on direct appeal.

~~ 14. Do you have any petition or appeal now pending in any court as to the judgment under attack?

Yes 0 No KXX
15. Give the name and address, if known, of each attorney who represented you in the following stages of the judgment attacked
herein:
(a) At preliminary hearing Chet kaufman, 227 N. Bronough Street, Suite 4200, Tallahassee,

Florida 32301

(b) At arraignment and plea Same as above

(c)At trial N/A

(d) At sentencing Same_as above

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(e) On appeal Same as above
(f) In any post-conviction proceeding N/ A
i * gs . N/A
(g) On appeal from any adverse ruling in a post-conviction proceeding

16. Were you sentenced on more than one count of an indictment, or on more than one indictment, in the same court and at
approximately the same time?

Yes 0 NoXXX N/A
17. Do you have any future sentence to serve after you complete the sentence imposed by the judgment under attack?
Yes D No KKX N/A :
(a) If so, give name and location of court which imposed sentence to be served in the future:
N/A
(b) Give date and length of the above sentence: N/A

(c) Have you filed, or do you contemplate filing, any petition attacking the -judgment which imposed the sentence to be
served in the future?

Yes O No &XX N/A .

- Wherefore, movant prays that the Court grant him all relief to which he may be entitled in this proceeding.

Signature of Attorney (if any)

I do under penalty of perjury that the foregoing is true and correct. Executed on

Auurtt Mb; SM b
CT “ hs

A Signature of Movant

(7)

